Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 1 of 26 PageID 167




                UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF FLORIDA
                       ORLANDO DIVISION
______________________________________

 CONNIE A. BAILEY

      Plaintiff,                         Case No.: 6:21-cv-00023-RBD-DCI

 v.

 MRS BPO, LLC,

      Defendant.


             DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                   AND MEMORANDUM IN SUPPORT

        Defendant, MRS BPO, LLC (“MRS”), by and through its undersigned counsel

and pursuant to Fed. R. Civ. P. 56 and Local Rule 3.01, hereby presents the following

Motion for Summary Judgment and Memorandum in Support, and states as follows:

        I.     INTRODUCTION

        Plaintiff, Connie A. Bailey (“Plaintiff”) filed this action alleging that MRS

violated the Fair Debt Collection Practices Act (“FDCPA”), the Florida Consumer

Collection Practices Act (“FCCPA”) and the Telephone Consumer Protection Act

(“TCPA”) by disclosing information that it was collecting on a debt without

verifying Plaintiff’s identity, placing at least ten collection calls after Plaintiff

requested that the phone calls cease and placing telephone calls to Plaintiff’s

cellphone using an automatic telephone dialing system (“ATDS”).

                                          1
                                      7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 2 of 26 PageID 168




      Discovery confirmed that: (1) Plaintiff has not, and cannot, produce evidence

to support the essential elements of each of her claims; (2) MRS did not provide any

information regarding a debt during any of the telephone calls; (3) MRS promptly

ceased all communications after receiving a cease request; and (4) MRS did not place

phone calls to Plaintiff using an ATDS. As a result, MRS now moves the Court for

summary judgment in its favor with respect to all three counts asserted in Plaintiff’s

Complaint, pursuant to Rule 56 of the Federal Rules of Civil Procedure.

      II.    FACTUAL BACKGROUND

             A.    Account History

      On December 18, 2020, GM Financial placed an account for Plaintiff with

MRS for collection. Declaration of William Michael Perkins (“Perkins Decl.”) ¶ 4;

Account Notes, Ex. A. On December 20, 2020, MRS sent an initial collection letter

to Plaintiff. Perkins Decl. ¶ 5; Collection Letter, Ex. B. That communication

contained a 15 U.S.C. § 1692g-notice in conformity with the FDCPA. Id.

      MRS placed a total of four attempted outbound calls to telephone number

(xxx) xxx-4676 (the “4676 number”) using telephone numbers (xxx) xxx-4872,

(xxx) xxx-4178 and (xxx) xxx-3778. Id. ¶ 6; Ex. A. The first call was on December

19, 2020 and there was no answer. Id. ¶ 7. The second call was on December 21,

2020 and an unidentified third party answered the call. Id. ¶ 7. During the second

call, the MRS representative advised that the phone call may be monitored and


                                          2
                                      7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 3 of 26 PageID 169




recorded, stated he was trying to reach Connie Bailey, and advised that he was with

“MRS Associates,” but did not provide any information regarding the debt. Id. ¶ 8;

December 21, 2020 Call Recording, Ex. C. The third call was on December 23,

2020 and there was no answer. Id. ¶ 9. The fourth call was on December 30, 2020,

but the call was terminated before it could be connected to an MRS representative.

Id. ¶ 10.

       On December 30, 2020, after the attempted outbound call, MRS received the

only inbound phone call from the 4676 number. Id. ¶ 11. During the phone call, the

unidentified caller requested to be taken “off the call list.” Id. ¶ 12; December 30,

2020 Call Recording, Ex. D. Following the December 30, 2020 inbound call from

the unidentified caller, MRS promptly ceased all further communications on the

Account. Id. ¶ 12. The Account Notes maintained by MRS on Plaintiff’s account

reflect all of the communications by MRS in connection with Plaintiff’s Account.

Id. ¶ 13. All of MRS’s calls to the 4676 number were placed using LiveVox Human

Call Initiator (“HCI”), a human-initiated outbound dialing system designed and

operated by non-party LiveVox, Inc. Id. ¶ 14; Declaration of Laurence Siegel

(“Siegel Decl.”) ¶ 4, Call Records, Ex. 1.

             B.    LiveVox HCI

       HCI is one of LiveVox’s human-initiated outbound dialing systems. Siegel

Decl. ¶ 6. HCI, like all of LiveVox’s human-initiated systems, is a distinct outbound


                                         3
                                     7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 4 of 26 PageID 170




dialing system, separated from LiveVox’s other outbound dialing systems at the

hardware and software level. Id. HCI uses a unique combination of software and

hardware that is not shared with any other LiveVox system. Id. The software

underlying HCI is designed only to enable the type of calls launched in HCI. Id. ¶

7. All HCI calls are routed through a set of servers exclusively dedicated to HCI

calls. Id. Those HCI servers cannot launch automated calls. Id.

      Every call launched using HCI requires human intervention by an agent, an

employee or other person working on behalf of the LiveVox customer making the

call. Id. ¶ 8. The human intervention takes the form, in part, of a “clicker agent”

clicking on a dialogue box to confirm the launching of a call to each telephone

number. Id. The call will not be launched unless the clicker agent clicks on the

dialogue box. Id.

      The clicker agent is also able to monitor a real-time dashboard that contains

information about “closer agent” availability, number of calls in progress, and

related metrics. Id. ¶ 9. The closer agent is the agent designated by the LiveVox

customer to speak with the call recipient. Id. For a call to be launched in HCI, the

clicker agent must take the action previously described and there must also be a

closer agent who is available to take the call. Id. Further, HCI is designed to allow

a clicker agent to control how often calls are made by reviewing the dashboard and

making judgments based on that information when deciding when to launch any


                                         4
                                     7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 5 of 26 PageID 171




particular call. Id.

      A clicker agent, when logged into HCI, is logged into HCI only and not into

any other LiveVox outbound dialing system. Id. ¶ 10. To log into any other LiveVox

outbound dialing system, the clicker agent would first need to log out of HCI. Id.

HCI does not use any predictive or other kind of algorithm to engage in predictive

dialing of any kind. Id. ¶ 11. For example, it does not use a statistical algorithm to

minimize the time that agents spend waiting between calls. Id.

      HCI does not have the present capacity to auto-dial; it does not have any

features that permit autodialing, and there are no features in HCI that can be turned

on to enable autodialing. Id. ¶ 12. HCI does not have the potential capacity to auto-

dial; there are no features that can be activated, deactivated, or added to the system

to enable auto-dialing. Id. ¶ 13. There is no external application programming

interface (“API”) with which to add software to the system; the components of HCI

are designed so as not to be able to transfer a list from one component to another;

and the server that launches HCI calls only recognizes a request from the HCI agent

presentation layer, which itself requires a click for each call. Id.

      HCI does not have the capacity to produce or store numbers to be called using

a random or sequential number generator. Id. ¶ 14. HCI does not have the capacity

to generate random ten-digit phone numbers and then to dial them. Id. ¶ 15. This

means that HCI does not have the capability of assembling arbitrary ten-digit


                                           5
                                       7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 6 of 26 PageID 172




telephone numbers to be called. Id. HCI does not have the capacity to generate

sequential ten-digit phone numbers and then to dial them. Id. ¶ 16. In other words,

HCI does not assemble ten-digit phone numbers such as (111) 111-1111, (111) 111-

1112, and so on. Id.

      HCI does not have the capacity to use an artificial or pre-recorded voice and

does not use any artificial or pre-recorded voice. Id. ¶ 17. Indeed, it is not possible

to launch any artificial or pre-recorded voice campaigns with HCI, nor is it possible

to deliver any pre-recorded or automated voice calls or messages. Id. HCI cannot

be turned on or triggered by a person, then left alone to launch calls. Id. ¶ 18. Each

call must be launched by a click by a clicker agent, and a click can launch only one

single call. Id.

      HCI was built not to store any telephone numbers to be called and in fact does

not store any telephone numbers. Id. ¶ 19. HCI does not have a random or sequential

number generator and does not produce or store telephone numbers to be called using

a random or sequential number generator. Id. HCI does not use a random or

sequential number generator to perform any function whatsoever, and does not use

a random or sequential number generator to determine the order in which to make

phone calls from an existing list of phone numbers. Id.

      In order to make phone calls using HCI, a LiveVox customer must select the

order it wants to call each number in a campaign file from a finite list of options. Id.


                                          6
                                      7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 7 of 26 PageID 173




¶ 21. The process of selecting the order in which calls are made is done in a part of

the LiveVox platform separated (logically and physically) from every LiveVox

outbound dialing system (including HCI). Id. None of the options available for

making calls enable a customer to make calls in a random order, and none involve

the use of a random or sequential number generator. Id.

      When MRS intends to make a call through the HCI system, the telephone

number to be dialed, which was manually entered into a database, is presented to a

human agent; that agent then selects the number to be called and launches the call

by physically clicking on the number. Perkins Decl. ¶ 15. The agent must click on

a dialogue box to confirm the launching of a call to a particular telephone number.

Id. The call cannot be launched unless the agent clicks on the dialogue box to

confirm that the call should be placed. Id.

      Thus, each of the calls MRS placed to the 4676 number required an MRS

representative to manually click on the dialogue box to launch the call to that

particular telephone number—using direct human intervention and judgment and

without the use of a random or sequential number generator. Id. ¶ 16; Siegel Decl.

¶¶ 8-21. MRS did not use a pre-recorded or artificial voice in connection with any

call placed to the telephone number ending in the digits 4676. Perkins Decl. ¶ 17.

After MRS received a request to remove the 4676 number, MRS promptly ceased

all further communications on the account. Id. ¶ 18.


                                         7
                                     7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 8 of 26 PageID 174




       Because Plaintiff has not established, and cannot establish her claims under

the FDCPA, FCCPA or TCPA, MRS now moves the Court to enter summary

judgment in its favor.

       III.   LEGAL STANDARD

       Summary judgment is appropriate where there is no genuine issue as to any

material fact and the moving party is entitled to judgment as a matter of law. Fed.

R. Civ. P. 56(a). A genuine issue of material fact exists if “the evidence is such that

a reasonable jury could return a verdict for the nonmoving party.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). On a motion for summary judgment,

the Court must view the facts in the light most favorable to the non-moving party

and draw all reasonable inferences in that party’s favor. Scott v. Harris, 550 U.S.

372, 378 (2007). Even so, the non-moving party cannot rest on bare allegations

alone, but must designate specific material facts showing that there is a genuine issue

for trial. Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986) (“The existence of a

mere scintilla of evidence supporting a plaintiff’s position is insufficient . . . .”).

       Claims that are factually unsupported should be disposed of on summary

judgment. Celotex, 477 U.S. at 323-24. “The plain language of Rule 56(c) mandates

the entry of summary judgment, after adequate time for discovery and upon motion,

against a party who fails to make a showing sufficient to establish the existence of

an element essential to that party’s case, and on which that party will bear the burden


                                            8
                                        7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 9 of 26 PageID 175




of proof at trial.” Id. at 322. “In such a situation, there can be ‘no genuine issue as

to any material fact,’ since a complete failure of proof concerning an essential

element of the nonmoving party’s case necessarily renders all other facts

immaterial.” Id. at 323.

      Because the undisputed facts show that Plaintiff cannot prove any of her

claims as a matter of law, MRS is entitled to summary judgment.

      IV.    ARGUMENT

             A.     MRS is entitled to summary judgment with respect to
                    Plaintiff’s claim that MRS violated the Fair Debt Collection
                    Practices Act.

      Plaintiff contends that MRS violated the FDCPA by disclosing information

that it was collecting on a debt without verifying Plaintiff’s identity and by placing

at least ten collection calls to Plaintiff after she requested that the phone calls cease.

Plaintiff asserts that MRS violated sections 1692b, 1692b(2), 1692c, 1692c(b),

1692d and 1692d(5) of the FDCPA.

                    1.     Sections 1692b and 1692b(2)

      Plaintiff argues that MRS violated sections 1692b and 1692b(2) by disclosing

to Plaintiff that it was attempting to collect a debt without verifying that it was

speaking with the person who allegedly owes the debt in question. Specifically,

Plaintiff asserts that “[MRS] stated it was calling in regard to a debt without

verifying that the person with whom [MRS] was speaking was actually the person


                                           9
                                       7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 10 of 26 PageID 176




 to whom the debt belonged.” Pl’s Compl. ¶ 48.

       Section 1692b provides that “[a]ny debt collector communicating with any

 person other than the consumer for the purpose of acquiring location information

 about the consumer shall—(1) identify himself, state that he is confirming or

 correcting location information concerning the consumer, and, only if expressly

 requested, identify his employer; (2) not state that such consumer owes any debt…”

 15 U.S.C. § 1692b(2) (emphasis added). In this case, the record unequivocally

 demonstrates that MRS did not communicate with a third party “for the purpose of

 acquiring location information,” an essential element of the statutory claim. Not

 only does Plaintiff fail to establish that MRS sought location information, but the

 record itself contains no indication that MRS sought location information. In fact,

 during the only connected outbound phone call, the MRS representative specifically

 asked to speak with Plaintiff and did not indicate that he was “confirming or

 correcting location information.” See Perkins Decl. ¶ 8; Ex. C. The evidence

 demonstrates that the purpose of the phone call was to reach Plaintiff, not to “acquire

 location information” from a third party. Id.

       Even if the purpose of the phone call had been to acquire location information

 from a third party, which it was not, MRS did not state that Plaintiff owes any debt.

 Id. Rather, during the December 21, 2020 outbound call with the unidentified third

 party, the MRS representative advised that the phone call may be monitored and


                                           10
                                       7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 11 of 26 PageID 177




 recorded, stated he was trying to reach Connie Bailey, and advised that he was with

 “MRS Associates” in response to the call recipient’s question. Id. The MRS

 representative did not provide any information regarding the debt. Id. Plaintiff has

 not, and cannot, produce any evidence establishing essential elements of her claim,

 and MRS is entitled to summary judgment on Plaintiff’s sections 1692b and

 1692b(2) claims.

                     2.    Sections 1692c and 1692c(b)

       Plaintiff contends that MRS violated sections 1692c and 1692c(b) by

 disclosing to Plaintiff that it was attempting to collect a debt without verifying that

 it was speaking with the person who allegedly owes the debt in question. Section

 1692c(b) provides that “without the prior consent of the consumer given directly to

 the debt collector . . . a debt collector may not communicate, in connection with the

 collection of any debt, with any person other than the consumer. . .” Thus, only a

 “communication” can create liability under section 1692c(b). Section 1692a(2)

 defines a communication as “the conveying of information regarding a debt directly

 or indirectly to any person through any medium.”

       Here, there was only one connected outbound call, and on that call the MRS

 representative did not say that MRS was calling regarding the collection of a debt

 nor did the MRS representative disclose information regarding the debt. Id. Rather,

 during the December 21, 2020 outbound phone call, the MRS representative merely


                                           11
                                       7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 12 of 26 PageID 178




 requested to speak with the debtor and stated that he was calling from “MRS

 Associates” in response to the third-party’s request. See Perkins Decl. ¶ 8; Ex. C.

 Thus, there was no “communication” within the meaning of the FDCPA and the

 provisions of section 1692c(b) do not apply. See Padilla v. Payco Gen. Am. Credits,

 Inc., 161 F. Supp. 2d 264, 274 (S.D.N.Y. 2001) (FDCPA not violated by speaking

 to receptionist over the phone at debtor’s place of employment and asking to be

 connected to debtor); see also Horkey v. J.V.D.B. & Assocs., Inc., 179 F. Supp. 2d

 861, 868 (N.D. Ill. 2002) (telephone conversation between a debt collector and a

 debtor’s co-worker intended for the debtor and limited to inquiring as to the debtor’s

 whereabouts did not violate section 1692c(b)). Since Plaintiff has not, and cannot,

 produce any evidence establishing essential elements of her claim, MRS is entitled

 to summary judgment on Plaintiff’s sections 1692c and 1692c(b) claims.

                     3.    Sections 1692d and 1692d(5)

       Plaintiff asserts that MRS violated sections 1692d and 1692d(5) by placing at

 least ten collection calls to Plaintiff after she requested that the phone calls cease.

 Pl’s Compl. ¶ 54. The FDCPA prohibits a debt collector from engaging in “any

 conduct the natural consequence of which is to harass, oppress, or abuse any person

 in connection with the collection of a debt.” 15 U.S.C. § 1692d. Such harassing or

 abusive conduct prohibited by the FDCPA includes “(5) [c]ausing a telephone to

 ring or engaging any person in telephone conversation repeatedly or continuously


                                           12
                                       7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 13 of 26 PageID 179




 with intent to annoy, abuse, or harass any person at the called number.” 15 U.S.C §

 1692d(5). “Courts have held that ‘[w]hether there is actionable harassment or

 annoyance turns not only on the volume of calls made, but also on the pattern of

 calls.” Brandt v. I.C. System, Inc., No. 8:09–cv–126–T–26MAP, 2010 WL 582051,

 at *2 (M.D. Fla. Feb.19, 2010), quoting Akalwadi v. Risk Mgmt. Alternatives, Inc.,

 336 F.Supp.2d 492, 505 (D. Md. 2004).

       Although the question of whether a debt collector’s conduct constitutes

 harassment can be a question of fact, where, as here, no calls were made after the

 debtor requested no further phone contact and there is no other evidence on this

 point, the question can and should be resolved as a matter of law. See e.g., Tucker

 v. CBE Group, Inc., 710 F.Supp.2d 1301, 1305 (M.D. Fla. 2010) (granting summary

 judgment in favor of defendant because “[d]efendant only left a total of six

 messages, made no more than seven calls in single day, and did not call back the

 same day after leaving a message.”); Waite v. Fin. Recovery Servs., Inc., No. 8:09-

 cv-02336-T-33AEP, 2010 WL 5209350, at *3–4 (M.D. Fla. Dec. 16, 2010) (finding

 132 calls in a nine-month period insufficient to defeat summary judgment for a debt

 collector); Lee v. Credit Management, LP, 846 F.Supp.2d 716, 725 (S.D. Tex. 2012)

 (granting summary judgment in favor of defendant because debt collector called

 plaintiff “a handful of times” and spoke to him briefly); Karp v. Financial Recovery

 Serv. Inc., No. A-12-CA-985 LY, 2013 WL 6734110, *7 (W.D. Tex. Dec. 18, 2013)


                                          13
                                      7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 14 of 26 PageID 180




 (granting summary judgment in favor of defendant where defendant placed six calls

 to plaintiff in two weeks); Carman v. CBE Group, Inc., 782 F.Supp.2d 1223, 1229-

 32 (D. Kan. 2011) (granting summary judgment in favor of defendant where

 defendant called plaintiff 149 times in a two-month period).

         The record demonstrates that MRS placed a total of four attempted outbound

 calls to the 4676 number with the intention of reaching the debtor on the account,

 not to harass Plaintiff. See Carman v. CBE Group, Inc., 782 F.Supp.2d 1223 (D.

 Kan. 2011) (the court granted summary judgment against the debtor, holding that

 the debt collector’s actions – calling the plaintiff on two phone numbers 149 times

 in 55 days – evidenced intent to establish contact, not intent to harass). This is

 evidenced by the fact that MRS immediately ceased all future communications with

 Plaintiff upon the request to remove the number. Perkins Decl. 12; Ex. A. Plaintiff

 failed to produce evidence showing otherwise. In fact, the phone records for the

 4676 number produced by T-Mobile in response to a third-party subpoena issued by

 Plaintiff further substantiates MRS’s account notes. See Declaration of Aylix K.

 Jensen (“Jensen Decl.”), ¶ 4; Excerpt of Phone Records, Ex. 4, at p. 2.

         Specifically, the only calls associated with MRS in the T-Mobile records are

 as follows:

  Date         Time Duration Direction Calling               Dialed        Service
                                       Number                Number        Code
  12/19/20 17:54:14 9        Incoming xxx-xxx-               xxx-xxx-      02A;11
                                       4872                  4676
                                           14
                                       7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 15 of 26 PageID 181




     12/19/20 17:54:45 9               Outgoing xxx-xxx-           xxx-xxx-       02A
                                                4872               9999
     12/21/20 15:43:33 38              Incoming xxx-xxx-           xxx-xxx-       11
                                                4178               4676
     12/23/20 22:40:15 9               Incoming xxx-xxx-           xxx-xxx-       029:11
                                                3778               4676
     12/23/20 22:40:32 9               Outgoing xxx-xxx-           xxx-xxx-       29
                                                3778               9999
     12/30/20 15:09:59 15              Incoming xxx-xxx-           xxx-xxx-       11
                                                4178               4676
     12/30/20 15:11:21 86              Outgoing xxx-xxx-           xxx-xxx-
                                                4676               4178

 Id.

         Except for the 12/19/20 and 12/23/20 outgoing calls in the above-referenced

 chart, which will be addressed below, the remaining calls align with MRS’s account

 notes and HCI’s call records.1 As for the 12/19/20 and 12/23/20 outgoing calls, the

 T-Mobile records indicate that these two calls are the result of a call forwarding

 feature and were not outgoing calls directed to MRS. Rather, the T-Mobile records

 reflect that the incoming calls to the 4676 number on those same dates were

 automatically redirected as outgoing calls to a telephone number ending in 9999,

 which is not associated with MRS. Id.; Perkins Decl. ¶ 19. This is demonstrated by

 the “service code” associated with the two outgoing calls. Specifically, the service

 code associated with 12/21/20 outgoing call is 02A, which is defined in T-Mobile’s

 records as “Call Forwarding on No Reply (CFNRy).” Id. The service code


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  The times provided in the T-Mobile phone records are reflected in Coordinated Universal Time
 (UTC), whereas the time provided in MRS’s phone records are reflected in Eastern Time (ET).
                                              15
                                          7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 16 of 26 PageID 182




 associated with the 12/23/20 outgoing call is 29, which is defined in T-Mobile’s

 records as “Call Forwarding on Mobile Subscriber Busy (CFB).” Id.

       In addition, the “calling number” - which is the number that initiated the call

 - associated with the outgoing calls reflects MRS’s numbers and are the same

 numbers that MRS used to initiate the incoming calls to the 4676 number

 immediately before the forwarded outgoing calls. Id.; Perkins Decl. ¶ 6; Ex. A. If

 these were standard outgoing calls in which Plaintiff used the 4676 number to call

 MRS, the “calling number” column would identify the 4676 number, not MRS’s

 number. In addition, the “dialed number” column would identify MRS’s number,

 not some unknown number ending in 9999. Thus, while the T-Mobile records reflect

 two additional outgoing calls on 12/19/20 and 12/23/20, upon further examination,

 the records clearly demonstrate that the calls represent MRS’s outbound calls to the

 4676 number being forwarded to an unknown number ending in 9999.

       According to MRS’s account notes, HCI’s call log and the T-Mobile records,

 MRS ceased all further communications following the only inbound call on

 December 30, 2020, and Plaintiff has failed to produce any evidence showing

 otherwise. Contrary to Plaintiff’s allegations, the evidence in the records evidence

 an intent to establish contact, not to harass Plaintiff. MRS’s conduct in this matter

 does not amount to a violation of section 1692d. As such, MRS is entitled to

 judgment in its favor on Plaintiff's claim under sections 1692d and 1692d(5).


                                          16
                                      7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 17 of 26 PageID 183




              B.     MRS is entitled to summary judgment with respect to
                     Plaintiff’s claim that MRS violated the Florida Consumer
                     Collection Practices Act.

       Plaintiff argues that MRS violated Florida Statute Section 559.72(7) by

 “continuously calling Plaintiff after being asked to stop.” Compl. ¶ 59. Fla. Stat. §

 559.72(7) provides as follows:

       In collecting consumer debts, no person shall ... [w]illfully
       communicate with the debtor ... with such frequency as can reasonably
       be expected to harass the debtor ..., or willfully engage in other conduct
       which can reasonably be expected to abuse or harass the debtor....

 As the record demonstrates, MRS did not violate section 559.72(7) because the

 number and manner of its communications were not abusive or harassing as a matter

 of law. Moreover, the record clearly establishes that there were no calls after the

 unidentified caller requested to be taken off the call list, rendering the claim false.

       There is nothing in MRS’s initial collection letter or in the connected calls that

 can be construed as abusive. Nor was the frequency sufficient to be harassing. See

 Arianas v. LVNV Funding LLC., 132 F.Supp.3d 1322 (M.D. Fla. 2015) (six letters

 over the course of more than a year and four unanswered calls insufficient to be

 harassing); Desmond v. Accounts Receivable Mgmt., Inc., 72 So.3d 179, 181 (Fla.

 2d DCA 2011) (eighteen calls insufficient as matter of law to violate FCCPA);

 Schauer v. Morse Operations, Inc., 5 So.3d 2, 5 (Fla. 4th DCA 2009) (seven calls

 insufficient as a matter of law to violate FCCPA). For the same reasons that MRS



                                            17
                                        7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 18 of 26 PageID 184




 did not violate section 1692d, MRS is entitled to summary judgment on Plaintiff’s

 FCCPA claim.

              C.     MRS is entitled to summary judgment with respect to
                     Plaintiff’s claims under the Telephone Consumer Protection
                     Act.

       The TCPA makes it unlawful for any person to make “any call (other than a

 call made for emergency purposes or made with the prior express consent of the

 called party) using any automatic telephone dialing system or an artificial or

 prerecorded voice . . . to any telephone number assigned to a . . . cellular telephone

 service . . . .” 47 U.S.C. § 227(b)(1)(A)(iii). The TCPA defines an ATDS as

 “equipment which has the capacity—(A) to store or produce telephone numbers to

 be called, using a random or sequential number generator; and (B) to dial such

 numbers.” 47 U.S.C. § 227(a)(1). To establish a TCPA claim, a plaintiff must prove

 that “(1) the defendant called a cellular telephone number; (2) using an automatic

 telephone dialing system; (3) without the recipient’s prior express consent.” Meyer

 v. Portfolio Recovery Assocs., LLC, 707 F.3d 1036, 1043 (9th Cir. 2012). To qualify

 as an ATDS, “the equipment in question must use a random or sequential number

 generator.” Facebook, Inc. v. Duguid, 141 S. Ct. 1163, 1173 (2021).

       Here, MRS is entitled to summary judgment with regard to Plaintiff’s TCPA

 claim, because the undisputed record shows that MRS did not use an ATDS to make

 phone calls to Plaintiff.


                                           18
                                       7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 19 of 26 PageID 185




                    1.     Plaintiff has not and cannot provide evidence suggesting
                           that the phone calls she received from MRS were made
                           with an ATDS.

       Plaintiff bears the burden to demonstrate that MRS placed calls to her using

 an ATDS. See 47 U.S.C. § 227(b)(1); see also Meyer, 707 F.3d at 1043. In order

 for a telephone dialing system to be an ATDS, it must have the capacity “to store or

 produce telephone numbers to be called, using a random or sequential number

 generator[,] and to dial such numbers.” 47 U.S.C. § 227(a)(1)(A); see also

 Facebook, Inc., 141 S.Ct. 1163, 1173 (“a necessary feature of an autodialer under §

 227(a)(1)(A) is the capacity to use a random or sequential number generator to either

 store or produce phone numbers to be called.”); ACA International v. Fed. Commc'ns

 Comm'n, 885 F.3d 687, 692 (D.C. Cir. 2018) (noting that the “auto” in the word

 “autodialer—or, equivalently, ‘automatic’ in ‘automatic telephone dialing system,’

 47 U.S.C. § 227(a)(1)—would seem to envision non-manual dialing of telephone

 numbers.”).

       Plaintiff has not produced and cannot produce any evidence, let alone

 testimony from someone with personal knowledge of the technology used by MRS,

 which would suggest that MRS placed calls to her using an ATDS. In fact, in

 discovery, Plaintiff admitted that the factual basis for her claim that the calls were

 made to her using an ATDS consisted of: (1) “the pause and lack of prompt human

 response during the calls that Plaintiff answered” and (2) “the sheer volume of calls


                                           19
                                       7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 20 of 26 PageID 186




 placed by Defendant strongly suggests the use of an ATDS.” Jensen Decl. ¶ 2;

 Responses to First Set of Interrogatories, Ex. 2 at p. 2. Courts have granted summary

 judgment for defendants where a TCPA plaintiff relied on similar insufficient facts.

 See Martin v. Allied Interstate, LLC, 192 F. Supp. 3d 1296, 1308–09 (S.D. Fla. 2016)

 (granting summary judgment for defendant on TCPA claim where plaintiff claimed

 she “heard” an autodialer); Chyba v. Bayview Loan Servicing, 3:14-cv-01415-BEN-

 BLM, 2016 WL 5405557, at *3 (S.D. Cal. Sept. 27, 2016) (plaintiff’s contention

 that “there was an ‘artificial time delay’ at the beginning of each call” did not create

 triable issue of fact as to use of ATDS); Estrella v. Ltd Fin. Servs., LP, 8:14–CV–

 2624–T–27AEP, 2015 WL 6742062, at *3 (M.D. Fla. Nov. 2, 2015 (“[T]here is no

 foundation or support for Plaintiff's conclusion that ‘clicks and delays’ and

 ‘prolonged silences’ means that an ATDS or predictive dialer was being used to

 place the calls.”).

        In response to a request that she produce all documents supporting her claims

 that MRS violated any law and a request that she produce all documents which

 evidence or support the allegation that MRS used an ATDS to place calls to her,

 Plaintiff responded, “Plaintiff refers Defendant to BAILEY 000001…” Jensen Decl.

 ¶ 4; Responses to Requests for Production, Ex. 2 at pp. 6, 9. The document produced

 by Plaintiff referenced in the response is a screen shot of the inbound and outbound




                                           20
                                       7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 21 of 26 PageID 187




 telephone calls from December 30, 2020. Id. Plaintiff provided nothing more to

 support her claim.

       In light of this record, it is clear that Plaintiff has no evidence necessary to

 establish essential elements of her TCPA claim — namely, that MRS made phone

 calls to her using an ATDS. Thus, summary judgment in favor of MRS on Plaintiff’s

 TCPA claim is warranted for this reason alone. See Anderson, 477 U.S. at 256 (“a

 party opposing a properly supported motion for summary judgment may not rest

 upon mere allegation or denials of his pleading, but must set forth specific facts

 showing that there is a genuine issue for trial.”); see also Behrens v. Pelletier, 516

 U.S. 299, 309 (1996) (“On summary judgment, . . . the plaintiff can no longer rest

 on the pleadings.”).

                      2.   The record demonstrates that MRS did not place phone
                           calls to Plaintiff using an ATDS.

       The incontrovertible record reflects that MRS never made calls to Plaintiff

 using an ATDS. See Perkins Decl. ¶¶ 14-27; Siegel Decl. ¶¶ 4-21, Ex. 1; Jensen

 Decl. Exs. 2-3.) As a result, MRS is entitled to summary judgment with respect to

 Plaintiff’s TCPA claim, irrespective of Plaintiff’s failure to establish the essential

 elements of that claim.

       The record demonstrates that HCI -- the system that MRS used to place

 telephone calls to Plaintiff -- is a human-initiated and human-controlled platform

 that requires an MRS agent to manually initiate the telephone call, including those
                                           21
                                       7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 22 of 26 PageID 188




 which MRS sent to Plaintiff. Perkins Decl. ¶¶ 15-17; Siegel Decl. ¶¶ 4, 6-13. The

 MRS system lacks the capacity to perform predictive dialing or to operate in an

 automated fashion, does not use a random or sequential number generator, does not

 have the capacity to store or produce telephone numbers or dial numbers using a

 random or sequential number generator and does not have the capacity to use an

 artificial or pre-recorded voice. Siegel Decl. ¶¶ 14-20. In other words, the HCI

 system is incapable of launching phone calls in any sort of automated fashion. Id.

 Consequently, the phone calls Plaintiff received from MRS were not made using an

 ATDS, as that term is defined by the TCPA. Plaintiff’s lack of any actual facts, or

 any good faith arguments based on probative facts, which might suggest otherwise

 is dispositive of Plaintiff’s claim.

       Moreover, every court to consider the issue has ruled that HCI is not an ATDS

 as a matter of law. See Virnig v. TD Bank USA, N.A., No. 18-cv-824, 2020 WL

 9720199, at *2 (W.D. Ky. Aug. 14, 2020) (finding that LiveVox HCI is not an

 ATDS); Mercadel v. Allied Interstates, LLC, No. 1:19-cv-2641-CC-JSA, 2020 WL

 10224373, *1 (N.D. Ga. May 29, 2020) (adopting Report & Recommendation), 2020

 WL 10224010, *4 (N.D. Ga. May 5, 2020) (Magistrate Judge’s Report and

 Recommendation); Meier v. Allied Interstate, LLC, No. 18-cv-1562-GPC-BGS,

 2020 WL 819014 (S.D. Cal. Feb. 19, 2020) (finding that LiveVox HCI does not

 qualify as an ATD); Ammons v. Diversified Adjustment Serv., Inc., No. 2:18-cv-


                                            22
                                        7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 23 of 26 PageID 189




 06489-ODW (MAAx), (C.D. Cal. Oct. 9, 2019) (same); Collins v. Nat’l Student

 Loan Program, 360 F. Supp. 3d 268, 273 (D.N.J. 2018) (same); Hatuey v. IC

 Systems, Inc., No. 16-cv-12542, 2018 WL 5982020, *6-7 (D. Mass. Nov. 14, 2018)

 (same); Fleming v. Associated Credit Servs., 342 F. Supp. 3d 563, 578 (D.N.J. 2018);

 Arora v. Transworld Sys. Inc., No. 15-cv-4941, 2017 WL 3620742, *3 (N.D. Ill.

 Aug. 23, 2017); Schlusselberg v. Receivables Performance Mgmt., LLC, No. 15-CV-

 7572(FLW), 2017 WL 2812884, *4 (D.N.J. June 29, 2017) (holding that LiveVox’s

 HCI system does not have the capacity or the potential functionality to be an

 autodialer within the meaning of the TCPA and the FCC’s 2015 Order); Smith v.

 Stellar Recovery, Inc., No. 2:15-cv-11717, 2017 WL 955128, *3 (E.D. Mich. Mar.

 13, 2017) (denying objections to Magistrate Report & Recommendation available at

 2017 WL 1336075 (E.D. Mich. Feb. 7, 2017)); Pozo v. Stellar Recovery Collection

 Agency, Inc., No. 8:15-cv-929-T-AEP, 2016 WL 7851415, *4 (M.D. Fl. Sept. 2,

 2016) (finding that LiveVox HCI is not an autodialer).

       In addition, in Facebook, Inc, 141 S.Ct. 1163 (2021), the Supreme Court

 recently held that “[t]o qualify as an ‘automatic telephone dialing system,’ a device

 must have the capacity either to store a telephone number using a random or

 sequential generator or to produce a telephone number using a random or sequential

 number generator.” Id. (emphasis added).      As stated supra, none of LiveVox’s

 systems – including HCI -- have ever had the capacity to use a random or sequential


                                          23
                                      7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 24 of 26 PageID 190




 number generator to either store telephone numbers or produce telephone numbers

 to be called. Siegel Decl. ¶ 20. Thus, there is no genuine issue of fact with respect

 to whether MRS used an ATDS to place calls to Plaintiff. The record indisputably

 reflects that MRS did not place any calls to Plaintiff using an ATDS. Consequently,

 MRS is entitled to summary judgment on Plaintiff’s TCPA claim.

       V.     CONCLUSION

       Based on the foregoing arguments, MRS respectfully requests the Court to

 enter an order granting summary judgment in favor of MRS with respect to

 Plaintiff’s claims, pursuant to Rule 56 of the Federal Rules of Civil Procedure.

                                 Respectfully submitted,

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                                          24
                                      7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 25 of 26 PageID 191




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                                      25
                                  7119088v3
Case 6:21-cv-00023-RBD-DCI Document 34 Filed 01/07/22 Page 26 of 26 PageID 192




                          CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true and correct copy of the

 foregoing was served upon the individual(s) listed below by Electronic Notification

 pursuant to ECF procedures on this 7th day of January, 2022 to:

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                                         26
                                     7119088v3
